Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 1 of 42




                                                        EXHIBIT 7




                                                        EXHIBIT 7
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 2 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 3 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 4 of 42




                                               ATTACHMENT 1
                                                    [REDACTED]




                                               ATTACHMENT 1
                                                    [REDACTED]
      Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 5 of 42




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF ARIZONA

Victor Parsons, et al., on behalf of themselves and   No. 2:12-cv-601-ROS
all others similarly situated; and Arizona Center
for Disability Law,

                  Plaintiffs,
       v.

David Shinn, Director, Arizona Department of
Corrections; and Richard Pratt, Interim Division
Director, Division of Health Services, Arizona
Department of Corrections, in their official
capacities,

                    Defendants.


                          CONFIDENTIAL EXPERT REPORT OF:

                               Joseph V. Penn, MD CCHP FAPA
                          University of Texas Medical Branch (UTMB)
                              Correctional Managed Care (CMC)
                               200 River Pointe Drive, Suite 200
                                      Conroe, Texas 77304
                                     Office: (936) 494-4184

     RESPONSE TO PLAINTIFFS’ ALLEGATIONS REGARDING EFFICACY OF
      COMMUNICATIONS WITH LIMITED ENGLISH PROFICIENT INMATES

                                        JULY 27, 2020

                       __________________________________________
                                 Joseph V. Penn MD CCHP FAPA
                              Correctional and Forensic Psychiatrist
                   Triple Board Certified in General, Child and Adolescent, and
            Forensic Psychiatry, American Board of Psychiatry and Neurology (ABPN)
                       Clinical Professor, Department of Psychiatry UTMB
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 6 of 42
      Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 7 of 42




        Aside from my full-time corrections based work, I have achieved and maintained
specialized certification as a Certified Correctional Health Professional (CCHP) by the National
Commission on Correctional Health Care (NCCHC). To obtain this additional certification, I
passed a written national examination, demonstrated proficiency in national correctional health
standards, annual attestation of continuing medical education credits, full medical licensure
without restrictions, and annual re-certification.
        I have extensive experience in evaluating and treating individuals in both correctional and
non-correctional settings. I have spent the majority of my professional career providing direct
clinical care and/or administrative oversight and consultation regarding psychiatric, mental
health, and other services to incarcerated adults and juveniles across a variety of jails, prisons,
juvenile settings, and other correctional settings.

        Since 2008, I have served as the Director of Mental Health Services for UTMB
Correctional Managed Care (CMC). In this capacity, I oversee the provision of psychiatric,
psychological, and mental health services to approximately 80% (approximately 110,000 adult
offenders) of the entire Texas state jail and state adult prison population housed within the Texas
Department of Criminal Justice (TDCJ) facilities statewide. I also oversee the delivery of
psychiatric services to approximately 1,000 youths housed statewide within state juvenile
correctional institutional facilities (referred to as state schools) and halfway houses within the
Texas Juvenile Justice Department (TJJD). I additionally oversee the delivery of psychiatric
services to several county jails and short term detention facilities in Texas.

        In my administrative role, I oversee approximately 315 mental health staff, including
psychiatrists, psychologists, mental health managers and clinicians, case managers, psychiatric
nurse practitioners, psychiatric physician assistants, and other mental health professionals and
student trainees across the state. I have 12 years of clinical and administrative experience in the
provision of psychiatric services and psychotropic medication treatment within county jails,
short-term Substance Abuse Felony Punishment treatment programs (SAFPs) and short-term
Intermediate Sanction Facilities (ISFs) in Texas. I also previously oversaw the psychiatric
services that UTMB CMC previously provided to federal prisoners housed in four federal prison
units in Southeast Texas, Beaumont, Texas.

       I am involved in the oversight of disease management guidelines (DMGs), clinical
protocols, decision-making regarding psychotropic medications and treatment protocols,
formulary and non-formulary approval of psychotropic medications, and psychiatric evaluation
and treatment of individuals with serious mental illness (such as schizophrenia and other
psychotic disorders), depressive disorders, and PTSD and anxiety disorders, gender dysphoria,
and other mental disorders and intellectual developmental disorders.

        I am bilingual (Spanish) and bicultural. I maintain real world and direct clinical and
administrative knowledge of the need to be able to effectively communicate with all patients,
regardless of their primary or preferred language or whether they have speech and language and
communication disorders and the need to provide access to care and continuity of mental health
services. This aids in my ability to communicate effectively and efficiently with patients and
staff with diverse language, communicative, or cultural needs. I also maintain direct clinical and
administrative knowledge of the unique mental health needs of individuals with psychotic

                                                3
      Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 8 of 42




disorders (e.g., schizophrenia, schizoaffective disorder and other psychotic disorders), other
serious mental illnesses (SMI), individuals who present with anxiety, depressive and adjustment
disorders and those with co-occurring substance disorders in detention and correctional settings.
In my clinical role, I perform both on-site and telepsychiatric evaluations of high profile and
more complicated patient offenders within our juvenile and adult correctional systems statewide.

        I oversee and have direct clinical and administrative knowledge and responsibility for the
clinical management of state prisoners statewide within Texas who may be referred for gender
dysphoria (“GD”) evaluation and treatment. I completed additional clinical training and
continuing medical education and coursework in this specialized area in order to increase my
proficiency in evaluating, diagnosing, and treating individuals presenting for gender dysphoria. I
am the joint chair of the statewide Correctional Managed Health Care Joint Gender Dysphoria
Work Group (that comprises three entities, the Texas Department of Criminal Justice (TDCJ),
UTMB CMC, and Texas Tech University Health Sciences Center). In this capacity I chair the
statewide Joint MH Work Group meetings and am the lead regarding GD policy reviews, and
revisions and changes to practice, procedures, staffing and supervision of all GD specialists in
our system statewide. I have given several presentations on the clinical diagnosis and treatment
of incarcerated individuals with GD at national correctional conferences. I have served as a
national consultant regarding GD treatment and the standard of care in correctional settings in
recent state prisoner cases in New Jersey, California, and Colorado.

        I have extensive experience in the operation, administration, management, and
supervision of the functioning and operations of psychiatric and mental health care and
treatment, and other healthcare services within jails, prisons, and juvenile correctional facilities.
I serve on the Executive Operations Council of UTMB CMC, the Pharmacy and Therapeutics
Committee (I am the past Chair), other joint UTMB CMC and TDCJ and joint UTMB CMC and
TJJD committees, and various other local, state, and national committees that are detailed in my
CV.

         I have published extensively in scientific journals and other peer reviewed publications in
the areas of correctional psychiatry and mental health, continuity of care for offenders with
mental health and substance abuse, and suicide prevention. Some recent publications
specifically in the area of correctional mental health include Psychiatric Services in Correctional
Facilities: A Work Group Report of the American Psychiatric Association, the chapter, “Standards and
Accreditation for Jails, Prisons, and Juvenile Facilities,” in the Oxford Textbook of Correctional
Psychiatry, and the chapter, “Correctional Psychiatry” in the most current edition of the Kaplan
and Sadock’s Comprehensive Textbook on Psychiatry, the most authoritative textbook in
psychiatry. I was invited to serve on a work group and was the lead author in the AAPL
“Resource Document for Prescribing in Corrections.” This resource document was published in
the Journal of the American Academy of Psychiatry and the Law, and provides guidance for
prescribing of psychotropic medications in the United States and was more recently expanded to
Canada.

        I have presented nationally and internationally and have consulted nationally on
correctional and non-correctional mental health care delivery and standards of care. Some recent
examples include: the Office of the California Attorney General regarding the California

                                                 4
      Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 9 of 42




Department of Corrections and Rehabilitations (CDCR); Technical Assistance Project
Consultant, U.S. Department of Justice, National Institute of Corrections (NIC); Technical
Assistance to New York County Jails, Valhalla, New York; Consultant to the State of Vermont
Department of Corrections; and Consultant, National Institute of Mental Health (NIMH),
regarding ICE detainees (other examples are listed in my CV).

         I have served as a physician surveyor for the NCCHC, a national organization that
provides healthcare accreditation to jails and short term detention facilities, prisons, juvenile
facilities, and opioid treatment programs in correctional facilities. I have surveyed several major
metropolitan county jails and short term detention facilities [e.g., US Immigration and Customs
Enforcement (ICE) facilities] nationally (these are listed in my CV). I am the past chair of the
NCCHC Accreditation Committee, and continue to serve as a member of the NCCHC
Accreditation Committee, and I am the current Vice Chair. I have served on several NCCHC
standards revision task force groups to revise the NCCHC healthcare standards: NCCHC
Standards for Health Services in Jails and Prisons, NCCHC Standards for Mental Health
Services in Correctional Facilities, and the NCCHC Juvenile Health Standards. I have served on
the NCCHC board of directors for over 20 years, and I am the current Chair Elect (this will be
my second three year Chair elect, Chair, and Immediate Past Chair appointment). This
demonstrates my current knowledge and direct clinical and administrative involvement in the
standards of care, health care standards, and the provision of psychiatric and mental health care
to detained/incarcerated juvenile and adult offender populations.

        I am actively involved at a national level within several psychiatric organizations. These
include the following: American Psychiatric Association (APA), the American Academy of
Psychiatry and the Law (AAPL), and the American Academy of Child and Adolescent
Psychiatrists (AACAP). I am the immediate past chair of the APA Council on Children,
Adolescents and their Families. I previously served on the APA Council of Psychiatry and the
Law). I have also been active within AAPL, the national organization for correctional and
forensic psychiatrists, and serve as an AAPL Councilor. I was the past chair of the AAPL
Suicidology Committee, a committee focused on suicide phenomenology and suicide assessment
and prevention. I also serve on the AACAP Children and the Law Committee (formerly known
as the Rights and Legal Matters Committee). I was previously the AACAP’s representative to
the NCCHC Board of Directors, and am now the AAPL representative to the NCCHC.

        I have guided the development of correctional psychiatry resource documents,
publications, policy, best practices, and position statements within the APA, the AAPL, the
AACAP, and the Texas Society of Psychiatric Physicians at a state, national, and international
level. I am a past president of the Texas Society of Psychiatric Physicians, the Texas statewide
branch of the APA. I am involved at a state and national level, and have testified at the Texas
State Capital and the US Capital on a variety of correctional and non-correctional psychiatric and
mental health issues. I was recently invited by the International Association for Correctional and
Forensic Psychology to participate in a one-day International Correctional Mental Health
Leadership Network meeting in Boston, Massachusetts. Only 14 national and international
correctional psychology practitioner leaders were invited from eight countries. I was one of two
US psychiatrists invited, and I was asked to provide an overview of the United States criminal
justice systems and treatment of the mentally ill.

                                                5
     Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 10 of 42




       I serve in a leadership role within several national correctional organizations, the
NCCHC, and on the behavioral health committee and the health care committee of the American
Correctional Association (ACA), (the ACA also provides accreditation to correctional facilities
nationally) and I am a board member of the American College of Correctional Physicians
(formerly known as the Society of Correctional Physicians).

       I am a Clinical Professor in the Department of Psychiatry and Behavioral Sciences,
UTMB, Galveston, Texas. I was previously Clinical Associate Professor in the Department of
Psychiatry and Human Behavior at Brown University and the Warren Alpert Medical School,
Providence, Rhode Island. I provide clinical supervision to several general and child
psychiatrists, psychiatric nurse practitioners, physician assistants (PAs), and medical student and
PA student trainees. I provide lectures and trainings on a variety of correctional psychiatry
topics to local medical school faculty, psychiatry residents and other trainees, and other
organizations and treatment programs.

       I attend state and national meetings and have completed continuing medical education
(CME) and maintenance of certification requirements to become and maintain my status as a
triple board certified psychiatrist – board certified in forensic psychiatry, general adult
psychiatry, and child and adolescent psychiatry. I previously served as a board examiner for the
ABPN in the areas of general adult psychiatry and child and adolescent psychiatry, on the
general psychiatry recertification committee, and on the forensic psychiatry committee.

       I have been qualified as an expert witness in various state and federal courts, in the field
of forensic, child and adolescent, and correctional psychiatry (1998-present), and have given
expert opinion in several areas, including the use of psychotropic medications, psychic harm,
PTSD, suicide, suicide prevention, suicide risk assessment, seclusion and restraint and other
mental health and psychiatry content areas.

        My state medical and federal Drug Enforcement Agency (DEA) licenses are on file with
the proper authorities. I hold a full and unrestricted medical license to practice in the State of
Texas. I previously held full and unrestricted medical licenses in Rhode Island, Massachusetts,
and Connecticut (they remain in lapsed and/or inactive status because I live and practice
correctional and forensic psychiatry exclusively in Texas).

       A list of my depositions and trial testimony is attached as Exhibit B.

       My fee schedule is attached as Exhibit C.

        Based upon my many years of study and practice, and ongoing requirements in order to
achieve and maintain board certification in the areas of general adult, child and adolescent
psychiatry, and forensic psychiatry, combined with my years of work providing direct patient
care, as well as administering mental health care delivery systems in the correctional and non-
correctional setting, it is my opinion that I am amply qualified to render opinions on the standard
of care as it relates to the psychiatric and mental health evaluation, care, and treatment provided
to state prisoners in the ADCRR. It is my further opinion, based on my many years of
experience as a CCHP and forensic and correctional psychiatrist involved at the national level in

                                                6
        Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 11 of 42




studying, reviewing, and promulgating national standards for mental health delivery in the
jail/detention, prison, and juvenile correctional settings, that I am qualified to render opinions on
the adequacy of the policies, procedures, and overall system of mental healthcare delivery and
services rendered by the contracted mental health care staff of the ADCRR. Further, while my
practice focus relates to psychiatry, as a practicing and licensed psychiatric physician there is no
material difference with respect to language access services for patient encounters relating to
mental health, psychiatric, or other general or specialized medical or surgical practices.

        All opinions stated in this document are based upon my years of training and experience
and my review of the records, and are to a reasonable degree of medical and psychiatric
certainty/probability.

   I.       Opinions Relating to Individual Access to Care of LEP Inmates.

         I reviewed the ADCRR eOMIS medical records of                                   ,
                    ,                       ,                                        ,
          ,                   ,                     ,                                        ,
                      ,                 ,                                        ,
          ,                            , and                               .

        As an initial observation, I note that many of the encounters described in the Declaration
of Amber Norris, as well as the generalized statements in the Declaration of Pablo Stewart
(during site inspections occurring in the 18-months before his Declaration was submitted, if not
earlier), appear to be dated, going back as far as 2016. These do not reflect the current state of
LEP translation/interpretation services, as implemented in ADCRR facilities by Centurion of
Arizona, LLC (“Centurion”), which has only been providing health care services since July 1,
2019. Any consideration of the current state of compliance should be limited to that time period,
as the actions of prior provider organizations, such as ADCRR, Wexford, or Corizon do not shed
any light on current compliance efforts.

        Nevertheless, a review of those prior records and encounters is instructive as to what
level and method of accommodations for LEP inmates is appropriate.

                                    , 68-year-old Caucasian male with a history of Sensorineural
hearing loss, bilateral (disorder), and other medical conditions including hypertension, diabetes
mellitus type 2 without retinopathy (disorder), knee pain, lower back pain, ankle joint effusion
and joint pain, and elevated lipids. This patient has no history of mental health services and does
not have a SMI designation.

        In the Declaration of Amber Norris, there are eight encounters described where it is noted
that             is deaf. [Norris Dec. at ¶¶ 9, 11, 13, 15, 17, 19, 21, and 23.] However, those
notes include indications that             is able to read lips [Id. at ¶ 11], and later that he was
provided with hearing aids [Id. at ¶ 23], which suggest that effective communication was had
during encounters, with assistive devices and other methods of communication, short of using an
ASL interpreter. Further, it is noted that on August 12, 2018 a nursing encounter occurred
during an Incident Command System (“ICS”) incident, where an inmate interpreter was used to

                                                 7
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 12 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 13 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 14 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 15 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 16 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 17 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 18 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 19 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 20 of 42
     Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 21 of 42




encounter occurred, there was no need for the provider to document how effective
communication was achieved, since he did not interact with  on that date.

       Further, it is apparent that             has been able to effectively communicate any
mental health symptoms, concerns, or distress. For example, during the intake process on
1/19/16 an urgent mental health referral was generated on 1/20/16 because the patient indicated
the following during intake: “Patient feels like there is nothing to look forward to
(hopeless/helpless).” The Arizona nursing and mental health care staff responded in a timely
manner.

       Mental health staff evaluated him on 1/20/16. On 1/20/16                  reported that he
had a past diagnosis of “bipolar disorder.”               did not report any depressive or manic
symptoms suggestive of bipolar disorder. He denied that he had been previously prescribed any
mood stabilizer medications or that he had received any community mental health treatment or
psychiatric hospitalizations. He was determined to not clinically warrant a SMI designation. No
emergent mental health needs including danger to self or danger to others were identified.
        was informed how to access Mental Health services via a HSR.

                    did not submit any subsequent HNRs for mental health. Mental health staff
conducted chart reviews on 2/22/16 and 10/28/16. He was discharged from custody on 11/24/18.

                     was re-incarcerated and was evaluated by Donald Salz, a staff psychologist.
During this initial mental health assessment, conducted in “a private confidential setting” on
12/10/18, Salz identified that              was “deaf and we communicated using paper and pen
and being allowed to read the questions on the computer.”                  denied any past suicide
attempts, family history of suicide, mental health counselling or treatment history,
hospitalizations, or treatment with psychotropic medications. He reported that he had first
abused alcohol at the age of 10 and that his last use was 3 days prior to his re-incarceration.
         denied a past history of physical or sexual abuse.

        During this initial mental health assessment               also denied any depressive or
manic symptoms and he specifically denied current suicidal thoughts. He also denied thought
insertion, thought deletion, and other psychotic symptoms, and he denied paranoia, auditory or
visual hallucinations.               reported that he was a high school graduate, never required
special education, and had no history of head injuries or loss of consciousness.
denied any history of violent or aggressive behavior and denied any past sexual offenses. A
mental status examination (with no findings) was documented. The clinical impression was “no
emergent mental health needs. Inmate                  ) informed of how to access Mental Health
services (HNR).”                also signed a consent form and had “no questions.”

                    demonstrated retention of the information presented to him by psychologist
Salz. To demonstrate this,              submitted a mental health need request on 1/8/19 that he
“would like a tv.” IM was seen in a confidential setting by Athena Hart, a licensed psych
associate, for an HNR that he submitted. According to Ms. Hart’s note:




                                               17
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 22 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 23 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 24 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 25 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 26 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 27 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 28 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 29 of 42
     Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 30 of 42




breaths with ambu bag met with rigor of chin. AED advised not shock. CPR continued until 911
arrived and patient transported to the hospital.”

       Dating back to March 2016, Amber Norris details five “encounters” where his deafness is
referenced, if not explicitly noted. [Norris Dec. at ¶¶ 209, 211, 215, 217, and 221.] Among
these encounters are references to communications conducted in writing [Id. at ¶¶ 211 and 221]
as well as his request for a specific inmate ASL interpreter to be assigned to him [Id. at ¶ 209].
These facts indicate that effective communications were had, and that use of an ASL interpreter
may not have been necessary during many of these encounters, particularly depending on the
nature and complexity of the encounter. The final three “encounters” detailed relate to an ICS
incident where he was found with an altered mental state in his cell on 4/2/2020 [Id. at ¶ 221]
and two subsequent nursing rounds in the IPC or infirmary, where he was observed prior to his
death on 4/4/2020. [Id. at ¶¶ 223 and 225.] In such emergent situations, and when an inmate is
not responsive, it is medically inappropriate and unnecessary to delay care until the inmate can
be connected via videoconference with an ASL interpreter, particularly where writing and
physical observation are sufficient to provide care.

                      had a past medical history significant for mixed conductive and sensorineural
hearing loss, bilateral (disorder), unspecified abdominal hernia without obstruction or gangrene
versus bilateral inguinal hernia, without obstruction or gangrene, not specified as recurrent, and
onychomycosis, tinea unguium (a fungal infection of the nail, nail fungus).                reported
to healthcare staff that he had no known drug allergies.

                    previously received mental health services but he did not have a SMI
designation. On 5/1/19, Erin Abel, licensed psych associate, mental health services staff, was
contacted and responded to an ICS. According to her note dated 5/1/19:

               Pt (patient,             ) was seen during an ICS where Pt refused
               to cuff up to move to another housing location as his current cell
               was needed.        Pt is deaf and therefore T(his) W(riter)
               communicated through writing while on camera for ICS. Pt
               expressed desire to stay in his cell as he "was here first". Pt was
               reminded security would utilize necessary use of force to remove
               Pt if he did not comply.

               Pt expressed concern for his property and his sign he has made
               stating "deaf inmate; special diet." TW assured Pt his property,
               sign included would follow. Pt began packing up items and
               eventually cuffed up. Pt was later informed his sign was in poor
               shape and offered new paper to make his own. Pt was appreciative
               when receiving lined and plain paper while awaiting housing. Pt
               denied current SI (suicidal ideation)/HI (homicidal ideation)/SIB
               (self-injurious behavior)/AVH (auditory visual hallucinations). Pt
               ultimately moved without further incident and agreed to utilize
               HNR if needed for further MH needs.



                                                26
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 31 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 32 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 33 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 34 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 35 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 36 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 37 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 38 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 39 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 40 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 41 of 42
Case 2:12-cv-00601-ROS Document 3723-1 Filed 08/25/20 Page 42 of 42
